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§§§§ "TFFQJ' ~UO
W.M. BARR&coMPANY, INC., WD 3#311.13§ ;111§1§

P|aintiff,
V.

NORTH AMER|CAN CAPAC|TY lNSURANCE
COMPANY, AS SUCCESSOR |N |NTEREST
TO UNDERWR|TERS INSURANCE CO. AS
TO POL|CY NO. BCGOOO432,

Defendant/Third-Party P|aintiff,
v.
LEX|NGTON |NSURANCE COI\/|PAN‘(1
Third-Party Defendant/Third-Party P|aintiff,
v. No.; 03-2969 BA

ADM|RAL |NSURANCE COMPANY; L|BERTY
MUTUAL INSURANCE CONIPANY; L|BERTY

F|RE |NSURANCE COMPANY; AMER|CAN

EN|P|RE GROUP; AMER|CAN E|V|P|RE
|NSURANCE CO|V|PANY; AMER|CAN EMP|RE
SURPLUS L|NES iNSURANCE COMPANY; HO|V|E
|NSURANCE COMF’ANY; STEADFAST |NSURANCE
COIV|PANY, and ZUR|CH AMER|CAN |NSURANCE
COMPANY,

Third-Party Defendants.

 

ORDER GRANT|NG STEADFAST INSURANCE COMPANY’S
AND ZUR|CH AMER|CAN INSURANCE COMPANY ‘S
MOT|ON FOR EXTENS|ON OF TlME WITHIN WH|CH

TO FlLE A RESPONS|VE PLEAD|NG

 

Tl1is document entered on the docket sheet |n comp||ance
with Flu|e 58 and/or 79(a) FHCP on

Case 2:03-cV-02969-.]DB-STA Document 65 Filed 06/27/05 Page 2 of 3 Page|D 76

lt appearing to the Court that Third-Party Defendants, Steadfast |nsurance
Company ("Steadfast”) and Zurich American |nsurance Company (“Zurich”)1 have
moved the Court to extend the time within which they must respond to the Third-Party
Complaint filed against them by Lexington lnsurance Company ("Lexington"), and it also
appearing to the Court that said motion is well taken,

lT |S THEREFORE ORDERED1 AD.|UDGED1 AND DECREED that the time
within which Steadfast and Zurich must respond to the Third-Party Comp|aint shall be
and the same hereby is enlarged through and including July 21, 2005.

SO ORDERED this 1d}£'l'day June 2005.

WT*

J.*~B»°rN+El:~B'R-E-EN
UN|TED STATES D|STR|CT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 65 in
case 2:03-CV-02969 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

